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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 JOHN DOE,                                         CASE NO. 1:20-CV-123-JRS-DML

                Plaintiff,

        v.                                         PLAINTIFF’S NOTICE OF INTENT TO
 INDIANA UNIVERSITY AT                             FILE MEMORANDUM IN OPPOSITION
 BLOOMINGTON, PROVOST LAUREN                       TO DEFENDANTS’ MOTION FOR
 ROBEL, KATHY ADAMS-REISTER, LIBBY                 EXPEDITED DISCOVERY
 SPOTTS, ROBERT BILLINGHAM,
 MICHAEL COURTNEY AND GRANT
 VOGTMAN,

               Defendants.




        Plaintiff John Doe (“John Doe”), by and through his attorney, hereby provides notice that

 John Doe intends to file a memorandum in opposition to Defendants’ Motion for Expedited

 Discovery, which was filed late yesterday afternoon, January 17. See ECF 18. John Doe’s

 forthcoming memorandum in opposition will address both legally and factually the reasons

 defendants’ motion is not well-taken and should be denied. John Doe will submit his motion on

 or before Tuesday, January 21.

                                             Respectfully submitted,

                                             /s/ Eric J. Rosenberg
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